Case 8:22-cv-00511-CEH-TGW Document 101 Filed 10/03/23 Page 1 of 4 PageID 1033



                       UNITED STATES DISTRICT COURT

                           MIDDLE DISTRICT OF FLORIDA
                                 TAMPA DIVISION


 Samantha M. Markle,                          Case No. 8:22-cv-00511-CEH-TGW

              Plaintiff,

       vs.
 Meghan Markle,

              Defendant.



         DEFENDANT’S NOTICE OF SUPPLEMENTAL AUTHORITY

       Pursuant to Local Rule 3.01(i), Defendant Meghan, The Duchess of Sussex

 (“Meghan”), by and through her undersigned counsel of record, hereby files a Notice

 of Supplemental Authority regarding the September 27, 2023 opinion issued by Chief

 Judge Timothy J. Corrigan of the Middle District of Florida granting defendants’

 motions to dismiss the First Amended Complaint containing Florida state law

 defamation and defamation by implication claims, without leave to amend.

       (1)   Citation to supplemental authority—Reed v. Chamblee, et al, --- F. Supp.

 3d ---, 2023 WL 6292578 (M.D. Fla. Sept. 27, 2023).

       (2)   Specification of earlier papers that the authority supplements—The

 above authority supplements Meghan’s arguments at: (a) page 5 n.2 of the pending

 Motion to Dismiss the Third Amended Complaint (Doc. 74; the “Motion”); (b) page




                                           1             Case No. 8:22-cv-00511-CEH-TGW
                    DEFENDANT’S NOTICE OF SUPPLEMENTAL AUTHORITY
Case 8:22-cv-00511-CEH-TGW Document 101 Filed 10/03/23 Page 2 of 4 PageID 1034




 6, lines 5 through 19 of the Motion; (c) page 14, line 16 through page 15, line 15 of

 the Motion; and (d) page 15, line 16 through page 17, line 5 of the Motion.

        (3)    Quotation from 2023 WL 6292578, at *9 —holding that “[a]ll three

 types of defamation [including defamation by implication] also require a plaintiff to

 plead and prove actual malice if he is a public figure.”

        (4)    Quotation from 2023 WL 6292578, at *16 —holding that “whether a

 person ‘aligns’ himself with another is an amorphous expression that cannot be

 proven or disproven” and that an alleged statement about plaintiff’s motivations

 “also constitutes opinion, as it is [defendant’s] subjective assessment of [plaintiff and

 his colleagues’] conduct and is not readily capable of being true or false” (footnote

 omitted).

        (5)    Quotation from 2023 WL 6292578, at *12—holding that a group of

 48 individuals, including plaintiff, “is too large for [plaintiff] to claim that any alleged

 defamation to [the group] equates to defamation against him personally.” (internal

 citation omitted).

        (6)    Quotation from 2023 WL 6292578, at *10—holding that “two alleged

 statements plainly concern another person and are [therefore] non-actionable.”




                                             2             Case No. 8:22-cv-00511-CEH-TGW
                      DEFENDANT’S NOTICE OF SUPPLEMENTAL AUTHORITY
Case 8:22-cv-00511-CEH-TGW Document 101 Filed 10/03/23 Page 3 of 4 PageID 1035




       RESPECTFULLY SUBMITTED this 3rd day of October, 2023


                                   KINSELLA HOLLEY ISER KUMP
                                   STEINSAPIR LLP


                                   ___________________________________
                                   Michael J. Kump (Cal. Bar No.
                                   100983)*
                                   mkump@khiks.com
                                   Jonathan Steinsapir (Cal. Bar No.
                                   226281)*
                                   jsteinsapir@khiks.com
                                   Nicholas C. Soltman (Cal. Bar No.
                                   277418)*
                                   nsoltman@khiks.com
                                   11766 Wilshire Boulevard, Suite 750
                                   Los Angeles, California 90025
                                   Telephone: 310.566.9800
                                   * Pro hac vice

                                   BITMAN O’BRIEN & MORAT PLLC
                                   Ronnie Bitman (Fla. Bar No. 744891)
                                   rbitman@bitman-law.com
                                   615 Crescent Executive Ct., Ste. 212
                                   Lake Mary, FL 32746-2168
                                   Telephone: 407.815.3115

                                   Attorneys for Defendant Meghan, The
                                   Duchess of Sussex (sued as “Meghan
                                   Markle”)




                                        3             Case No. 8:22-cv-00511-CEH-TGW
                 DEFENDANT’S NOTICE OF SUPPLEMENTAL AUTHORITY
Case 8:22-cv-00511-CEH-TGW Document 101 Filed 10/03/23 Page 4 of 4 PageID 1036




                            CERTIFICATE OF SERVICE

          I HEREBY CERTIFY that the foregoing has been furnished to all parties

 registered to receive service via CM/ECF this 3rd day of October, 2023.



                                       BITMAN O’BRIEN & MORAT PLLC

                                       /s/ Ronnie Bitman, Esq.________
                                       Ronnie Bitman (Fla. Bar No. 744891)
                                       rbitman@bitman-law.com
                                       615 Crescent Executive Ct., Ste. 212
                                       Lake Mary, FL 32746-2168
                                       Telephone: 407.815.3115

                                       Attorneys for Defendant Meghan, The
                                       Duchess of Sussex (sued as “Meghan Markle”)




 841045




                                           4             Case No. 8:22-cv-00511-CEH-TGW
                    DEFENDANT’S NOTICE OF SUPPLEMENTAL AUTHORITY
